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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,                    )
         Plaintiff,                          )
                                             )
v.                                           ) Case No. 1:17-cr-00224-AT-CMS
                                             )
ALLEN J. PENDERGRASS,                        )
         Defendant.                          )

                   MOTION TO CONTINUE TRIAL DATE1

      Mr. Pendergrass has been charged in connection with a scheme to defraud the

City of Atlanta and others by claiming to represent individuals and businesses who

were awaiting payment from the city related to various issues, but it is alleged that

when the funds were recovered, he used them for his personal gain.

      As to Counts 1-5, Mr. Pendergrass is alleged to have committed and/or aided

and abetted co-defendant Terrell McQueen in substantive mail fraud counts. As to

Count 6, Pendergrass is alleged to have committed (or aided and abetted Mr.

McQueen in) promotional money laundering. As to Counts 7-10, Mr. Pendergrass

is alleged to have transferred, possessed, and used the means of identification of




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        On July 13, counsel reached out to AUSA Tracia King regarding the current
request. Due to the short timing, counsel has not yet received a response from Ms.
King. Counsel also emailed a copy of this motion to Ms. King on July 14th prior to
filing.

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other people without lawful authority and/or aided and abetted Mr. McQueen in the

commission of this crime.

      There are has been extensive pre-trial litigation in this case and this Court

issued its final order on the magistrate court’s report and recommendation on May

5, 2021. The Court then set the trial for this matter for August 27, 2021. Doc. 177.

Motions in limine and proposed voir dire are due today, July 14.

      Counsel and Mr. Pendergrass have met on multiple occasions to prepare for

trial in this matter. On July 13, both counsel and Mr. Pendergrass agreed that

additional time is needed to locate additional witnesses and to prepare for trial. Mr.

Pendergrass has also notified counsel that he would like to request a bench trial in

this matter. A bench trial may permit the parties to try the case in a more efficient

manner that could save time and resources. Counsel emailed AUSA Tracia King

about these requests, but has not yet received a response.

      Counsel understands that the Court’s trial calendar is likely backed-up due to

the lack of jury trials in 2020, but counsel is requesting that the trial be continued

until October to allow for sufficient preparation and a zealous defense of Mr.

Pendergrass. Additionally, counsel had discussed a potential resolution of the case

with the former AUSA handling the case, Jeff Brown, but the parties were unable to

resolve the matter. Given additional time, the parties may be able to reach a

resolution, which would eliminate the need for trial.


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      Counsel asserts that the time related to this request should be excluded under

the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), as the requested time is

necessary for effective preparation so that counsel may provide an adequate defense.

      Respectfully submitted this day 14th of July 2021.


                                      /s/SARALIENE S. DURRETT
                                      Saraliene S. Durrett
                                      1800 Peachtree Street
                                      Suite 300
                                      Atlanta, GA 30309




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                         CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this date electronically filed the

foregoing motion to continue with the Clerk of the Court using the CM/ECF system

which will automatically send email notification of such filing to the following

attorney(s) of record:

      All Defense Counsel

      All AUSAs of record

      Respectfully submitted this 14th day of July 2021.


                                      /s/SARALIENE S. DURRETT
                                      Saraliene S. Durrett
                                      1800 Peachtree Street
                                      Suite 300
                                      Atlanta, GA 30309




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